Case 5:23-cv-00255-M-BM Document 8 Filed 12/19/22 Page 1 of 2
                                 CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a copy of the foregoing Notice of Change of

Address was this day by filing the document electronically via the CM/ECF system, which will

send notification of such filing to the following participants:



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This the 19th day of December, 2022.

                                               MORNINGSTAR LAW GROUP

                                               /s/ Jeffrey L. Roether__________
                                               Attorneys for ChannelAdvisor Corporation




          Case 5:23-cv-00255-M-BM Document 8 Filed 12/19/22 Page 2 of 2
